   Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 1 of 19



          IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

             MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

EDWARD BRAGGS, et al.,               )
                                     )
     Plaintiffs,                     )
                                     )        CIVIL ACTION NO.
     v.                              )          2:14cv601-MHT
                                     )               (WO)
JOHN HAMM, in his                    )
official capacity as                 )
Commissioner of                      )
the Alabama Department of            )
Corrections, et al.,                 )
                                     )
     Defendants.                     )

                     REVISED REMEDY SCHEDULING ORDER
                          ON PHASE 1 ADA CLAIMS
                   AND PHASE 2A EIGHTH AMENDMENT CLAIM

     Based on the representations made on the record at the hearing held

on May 2, 2024, it is ORDERED that the deadlines and dates for the Phases

1 and 2A remedy scheduling order for the ADA and Eighth Amendment claims

remain and are revised as set forth below.

     Note that the formatting of the scheduling order is as follows.

Each section is designated with a cell-block number so that it may be

more easily referenced.    For example, Section III deals with the “PHASE

2A EIGHTH AMENDMENT CLAIM.”      Subpart B of that section pertains to

“CORRECTIONAL STAFFING.”   So the second cell in that subpart is referred

to as cell III.B.2.   The court’s citation for this cell is (Doc. X) at

4, cell III.B.2.
 Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 2 of 19



Cell                                OLD DATES             NEW DATES
                              I. GENERAL
I.A    The effective date     3/9/2022
       of the Phase 2A
       Omnibus Remedial
       Order. (Doc. 3464)
       at § 1.3.


                       II. PHASE 1 ADA CLAIMS
II.A   PHASE 1 ADA
  1    Phase 1: Deadline      11/1/28
       for termination of
       monitoring. (Doc.
       3801).
 2     Phase 1: The           7/5/24 by 5:00 p.m.
       deadline for
       alterations to
       Birmingham Community
       Based
       Facility/Community
       Work Center lapsed
       on January 1, 2023.
       (Doc. 3801). The
       parties are to file
       a status report as
       to how they are
       progressing with
       regard to this
       facility, including
       whether, as with
       Donaldson, it should
       be folded into the
       transition plan.
 3     Status conference:     7/12/24 at 9:00 a.m.
       Parties should be
       prepared to discuss
       matter in preceding
       cell. (Doc. 3992).
 4     Phase 1: Deadline      11/1/27
       for completion of
       alterations for the
       second and third
       phases regarding the
       removal,
       remediation, or
       construction of new
       facilities. (Doc.
       3801).



                                  2
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 3 of 19



5    Phase 1: Parties       10/31/24 by 5:00 p.m.
     filed a joint status
     report regarding
     their efforts to
     resolve, with the
     help of Gina
     Hilberry, the
     overarching Phase 1
     ADA transition plan
     issue in light of
     the construction of
     one or more new
     facilities,
     including an
     anticipated deadline
     for the completion
     of an updated
     transition plan with
     any new compliance
     deadlines.
     (Doc. 4000). The
     parties were to file
     the completed
     proposed revised
     transition plan by
     January 26, 2024,
     which was extended
     to February 26,
     2024. On February
     26, the parties
     filed a report with
     a proposed timeline
     for completing the
     revised transition
     plan. (Doc. 4137).
     That timeline has
     October 31, 2024, as
     the date by which
     the parties will
     ultimately submit
     the revised
     transition plan.
     Id. Through this
     order, the parties
     are to submit the
     plan by that date.
     Also, based on
     representations made
     at the triannual
     conference on
     December 5, 2023,

                                 3
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 4 of 19



        the issue of how to
        proceed on the
        alterations to
        Donaldson has been
        folded into this
        cell. (Doc. 4105).
  6     Status conference:    7/12/24 at 9:00 a.m.
        Parties should be
        prepared to discuss
        the matter outlined
        in the preceding
        cell.


                 III. PHASE 2A EIGHTH AMENDMENT CLAIM
III.A   MONITORING
  1     Status conference:    4/19/24 at 9:00 a.m.    7/12/24 at 9:00
        The parties should                            a.m.
        be prepared to
        discuss the status
        of the EMT.
  2     In accordance with    4/08/24 by 5:00 p.m.    DONE
        the parties’
        proposed schedule,
        (Doc. 4146), the
        parties are to
        submit performance
        measures and audit
        tools objections to
        the EMT.
  3     In accordance with                            6/28/24 by 5:00
        the parties’                                  p.m.
        proposed schedule,
        (Doc. 4146), by
        April 17, 2024, the
        EMT was to provide
        the parties with an
        estimation of time
        necessary to provide
        written responses to
        the parties’
        objections.
        Belatedly, on April
        25, the EMT informed
        the parties that it
        would need two
        months from April 25
        to respond to the
        parties’ objections.
        (Doc. 4170). The
        EMT should try to

                                   4
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 5 of 19



     submit its responses
     to the parties by
     June 28, 2024.
4    Parties to jointly     Suspended pending        7/9/24 by 5:00
     file the EMT’s         resolution of other      p.m.
     finalized proposed     matters.
     versions of the
     performance measures
     and audit tools.
     (Doc. 4029).
5    If the plaintiffs      Suspended pending        7/9/24 by 5:00
     have any unresolved    resolution of other      p.m.
     objections to the      matters.
     performance
     measures/audit
     tools, the
     plaintiffs shall
     file line-by-line
     redlined versions of
     the EMT’s finalized
     proposed performance
     measures and audit
     tools. (Doc. 4029).
6    If the defendants      Suspended pending        7/9/24 by 5:00
     have any unresolved    resolution of other      p.m.
     objections to the      matters.
     performance
     measures/audit
     tools, the
     defendants shall
     file line-by-line
     redlined versions of
     the EMT’s finalized
     proposed performance
     measures and audit
     tools. (Doc. 4029).
7    Parties are to file    Suspended pending        7/9/24 by 5:00
     their proposal or      resolution of other      p.m.
     proposals as to what   matters.
     the court’s
     resolution procedure
     should look like
     concerning
     disagreements about
     the performance
     measures/audit
     tools, including the
     issues outlined in
     the court’s order,
     (Doc. 4029).


                                 5
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 6 of 19



  8     Status conference:    Suspended pending        7/12/24 at 9:00
        The parties should    resolution of other      a.m.
        be prepared to        matters.
        discuss all the
        matters identified
        in the preceding
        cells. (Doc. 4029).

III.B   CORRECTIONAL STAFFING
  1     The defendants must   On March 1, June 1,
        submit correctional   September 1, and
        staffing reports to   December 1 of each
        the court and the     year
        EMT. (Doc. 3464) at
        § 2.1.6. By
        agreement of the
        parties, the
        defendants are to
        submit these reports
        on the dates set
        forth in the Phase
        2A Understaffing
        Remedial Order (Doc.
        1657) at § 4,
        namely, March 1,
        June 1, September 1,
        and December 1 of
        each year.
  2     The parties must      Within seven days of
        submit a joint        the filing of each
        correctional-staffin quarterly
        g “trends” report to correctional staffing
        the court within      report.
        seven days of the
        filing of each
        quarterly
        correctional
        staffing report.
        The “trends” reports
        should include the
        five items outlined
        in the court’s July
        17, 2023, order.
        (Doc. 3994.)
  3     Status conference:    7/12/24 at 9:00 a.m.
        The parties should
        be prepared to
        discuss what the
        quarterly
        correctional-staffin
        g reports reflect,

                                   6
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 7 of 19



     as outlined in their
     most recent
     correctional-staffin
     g trends report.
4    On October 27, 2023,   Under submission
     defendants filed a
     proposal for a
     concrete plan to
     address ADOC’s still
     grossly inadequate
     correctional
     staffing levels.
     See Joint Statement
     on Correctional
     Staffing Recruiting
     and Retention (Doc.
     4062). Plaintiffs
     stated that, even
     with defendants’ new
     staffing plan,
     defendants are
     “unlikely” to meet
     the July 1, 2025,
     staffing deadline
     and that plaintiffs
     fear that “ADOC’s
     current progress and
     trajectory will
     undoubtedly result
     in a ‘scramble’ or
     request of a
     significant
     extension” of the
     correctional
     staffing deadline.
     Id. at 21. At the
     triannual conference
     held on December 5,
     2023, the court
     voiced concerns
     about the looming
     July 1, 2025,
     deadline, especially
     in regard to what to
     do in the event that
     it is not met. The
     court is currently
     considering how to
     proactively approach
     that deadline. The
     court will set oral

                                 7
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 8 of 19



     argument on this
     issue, if necessary,
     at a later date.
5    Status conference:     Suspended pending        5/17/24 at 9:00
     The parties should     further court            a.m.
     be prepared to         consideration.
     discuss the matter
     in the preceding
     cell.
6    The formatting for     On hold pending EMT’s
     the correctional       evaluation.
     staffing reports
     shall be further
     revised, if
     necessary, based on
     input from the EMT.
     See Phase 2A Omnibus
     Remedial Order (Doc.
     3464) at § 2.1.6.
     The parties are to
     file a joint status
     report as to the
     adequacy of the
     correctional
     staffing reports,
     including the EMT’s
     progress on
     evaluating the
     adequacy of the
     reports and whether
     the EMT’s
     performance measures
     touch on this issue.
     (Doc. 3994.)
7    The defendants filed   Done
     2022 Correctional
     Staffing Analysis
     Report on November
     1, 2022.
     (Doc. 3849).
8    The defendants filed   Done
     the Updated 2022
     Correctional
     Staffing Analysis
     (Doc. 3928) on
     February 24, 2023,
     which resolved the
     parties’ disputes as
     to the adequacy of
     the 2022
     Correctional

                                   8
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 9 of 19



     Staffing Analysis
     (Doc. 3927).
9    The parties should     6/30/24 by 5:00 p.m.
     file a joint report
     confirming that the
     RPU is in the
     process of updating
     the staffing
     analysis as outlined
     in AR 238. See Joint
     Report (Doc. 4033).
10   Status conference:     7/12/24 at 9:00 a.m.
     The parties should
     be prepared to
     discuss the matter
     in the preceding
     cell.
11   The defendants must    On hold pending
     develop with the       consideration of
     Savages, and submit    other matters as
     to the court,          indicated.
     realistic benchmarks
     for the level of
     correctional
     staffing ADOC will
     attain by December
     31 of 2022 (though
     this date is
     passed), 2023, and
     2024 respectively to
     put ADOC on track to
     fill all mandatory
     and essential posts
     by July 1, 2025.
     (Doc. 3464) at
     § 2.1.5. (Doc.
     3857). The
     defendants filed
     their proposed
     benchmarks on
     January 20, 2023
     (Doc. 3901), the
     plaintiffs filed a
     response (Doc.
     3906), to which
     defendants replied
     (Doc. 3917). The
     State’s proposed
     benchmarks do not
     reflect the
     operative Updated

                                 9
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 10 of 19



        2022 Correctional
        Staffing Analysis
        (Doc. 3928) and they
        employ a 33%
        overtime rate, which
        is a contested
        issue. Accordingly,
        the court does not
        accept the proposed
        benchmarks at this
        time and will
        revisit the issue of
        benchmarks once
        other issues
        pertaining to the
        quarterly
        correctional
        staffing reports,
        overtime
        calculation, and
        updated staffing
        analyses are
        resolved.
 12     Deadline by which      7/1/2025
        ADOC must fill all
        mandatory and
        essential posts at
        the level indicated
        in the most recent
        staffing analysis at
        that time. (Doc.
        3464) at § 2.1.4.

III.C   MENTAL-HEALTH STAFFING
  1     The defendants must    On March 1, June 1,
        submit mental-health September 1, and
        staffing reports to    December 1 of each
        the court and the      year
        EMT. (Doc. 3464) at
        § 2.2.4.   By
        agreement of the
        parties, the
        defendants are to
        submit these reports
        on the dates set
        forth in the Phase
        2A Understaffing
        Remedial Order (Doc.
        1657) at § 4,
        namely, March 1,
        June 1, September 1,

                                   10
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 11 of 19



     and December 1 of
     each year.
2    The parties must        Within seven days of
     submit a joint          the filing of each
     mental-health-staffi    quarterly
     ng “trends” report      correctional staffing
     to the court within     report.
     seven days of the
     filing of each
     quarterly
     mental-health-staffi
     ng report. The
     “trends” reports
     should include the
     five items outlined
     in the court’s July
     19, 2023, order.
     (Doc. 3998).
3    Status conference:      12/8/23 at 9:00 a.m.     7/12/24 at 9:00
     The parties should                               a.m.
     be prepared to
     discuss what the
     quarterly
     mental-health-staffi
     ng reports reflect,
     as outlined in their
     most recent
     mental-health-staffi
     ng trends report.
4    There is an ongoing     On hold pending EMT’s
     disagreement on the     evaluation.
     appropriate method
     for comparison of
     ADOC’s mental-health
     staffing levels
     against the levels
     set forth by the
     mental-health
     staffing ratios and
     mental-health
     staffing matrix
     incorporated in
     Sections 2.2.1 and
     2.2.3 of the Phase
     2A Omnibus Remedial
     Order (Doc. 3464).
     Plaintiffs filed
     reports as to this
     issue (Doc. 3766 &
     Doc. 3854) and the
     defendants filed a

                                 11
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 12 of 19



     response to the
     plaintiffs’ report.
     (Doc. 3856). In
     light of these
     reports, the court
     ordered the parties
     to file a joint
     report specifically
     identifying their
     areas of “agreement”
     and their areas of
     “disagreement,” and
     their suggestions of
     how the court should
     proceed. The
     parties filed that
     report on December
     28, 2022. (Doc.
     3892). At the
     triannual status
     conference on July
     14, 2023, the
     parties agreed that
     the court should
     wait to see if the
     EMT’s performance
     measures touch on
     this issue.
     Nonetheless, the
     parties are to file
     a joint status
     report as to the
     EMT’s progress on
     evaluating the
     quarterly mental-
     health staffing
     reports and whether
     the EMT’s
     performance measures
     touch on this issue.
5    The EMT shall review    Beginning one year
     ADOC’s mental-health    from the initiation
     staffing ratios and,    of monitoring
     if necessary, make
     recommendations for
     revising them. (Doc.
     3464) at § 2.2.2.
6    Deadline by which       7/1/2025
     ADOC must achieve
     the staffing levels
     set forth in the

                                 12
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 13 of 19



        staffing matrix
        previously approved
        by the court in the
        Phase 2A Order and
        Injunction on
        Mental-Health
        Staffing Remedy
        (Doc. 2688), subject
        to any subsequent
        modifications. Note:
        The Omnibus Remedial
        Order originally set
        June 1, 2025, as the
        compliance deadline.
        (Doc. 3464) at
        § 2.2.3. As
        reflected in the
        parties’ July 26,
        2023, joint filing
        (Doc. 4004) at 2–3,
        that date was reset
        to July 1, 2025
        (Doc. 3486) at 3.

III.D   RESTRICTIVE HOUSING
  1     The defendants must    On a weekly basis
        file with the court
        and the EMT reports
        on each inmate who
        has been in
        restrictive housing
        for longer than 72
        hours under
        exceptional
        circumstances during
        that week. (Doc.
        3464) at § 3.1.4,
        (Doc. 3557), and
        (Doc. 3771).
  2     The court required     On hold pending EMT’s
        the parties to file    evaluation.
        reports on what the
        most recent weekly
        SMI reports to the
        court reflect
        (trends, etc., if
        any). While the
        reports raised
        serious concerns,
        the court decided at
        the August 15 and

                                   13
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 14 of 19



     November 7, 2022,
     status conferences
     not to take any
     immediate action,
     with the
     understanding that
     the EMT will examine
     the concerns closely
     in the very near
     future and that,
     otherwise, the court
     will reconsider
     looking into the
     issue itself (Doc.
     3768 and Doc. 3865).
     At the triannual
     status conference on
     July 14, 2023, the
     parties agreed that
     the court should
     wait to see if the
     EMT’s performance
     measures touch on
     this issue. The
     parties are to file
     a joint status
     report as to the
     EMT’s progress on
     reviewing the SMI
     reports and whether
     the EMT’s
     performance measures
     touch on this issue.
3    On October 27, 2023,     By 5:00 p.m. on the
     the parties filed a     15th day of the month
     joint statement         following the
     outlining the           conclusion of the
     defendants’ proposal    reporting month.
     as to how ADOC will
     allow its
     restrictive housing
     units (RHUs) to
     function safely with
     the correctional
     staff that ADOC
     currently employs.
     (Doc. 4061). The
     court informally
     approved this plan
     and, as proposed by
     the parties, ordered

                                 14
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 15 of 19



     ongoing monthly
     status reports
     regarding
     restrictive housing
     operations. The
     defendants are to
     file monthly RHU
     reports as outlined
     in Doc. 4082.
4    Parties are to file     Within seven days of
     RHU “trends” report,    the filing of each
     as outlined in Doc.     monthly restrictive
     4082.                   housing report.
5    Status conference:      3/1/24 at 9:00 a.m.      7/12/24 at 9:00
     The parties should                               a.m.
     be prepared to
     discuss the matter
     in the preceding
     cell.
6    The Phase 2A omnibus    On hold pending EMT’s
     remedial order          evaluation.
     provided that all
     RHU cells must be
     cleaned by June 8,
     2022. (Doc. 3464)
     at § 3.1.1. The
     defendants filed a
     notice with the
     court confirming
     that they have met
     this deadline.
     (Doc. 3698). Based
     on the
     representations made
     at several status
     conferences, the
     court stated that it
     will not take any
     immediate action
     with respect to the
     continued
     cleanliness
     of RHU cells, albeit
     with the expectation
     that the EMT will
     monitor the issue as
     soon as it is fully
     operational. The
     court stated that it
     would revisit the
     issue later in light

                                 15
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 16 of 19



        of the status of the
        EMT at that time.
        (Doc. 3770 and Doc.
        3862).   At the
        triannual status
        conference on July
        14, 2023, the
        parties agreed that
        the court should
        wait to see if the
        EMT’s performance
        measures touch on
        this issue. The
        parties are to file
        a joint status
        report as to the
        EMT’s progress on
        the continued
        cleanliness of RHU
        cells and whether
        the EMT’s
        performance measures
        touch on this issue.
  7     Deadline by which      Stayed
        all RHU cells must
        comply with the
        conditions set forth
        in Lindsay M.
        Hayes’s Checklist
        for the
        “Suicide-Resistant”
        Design of
        Correctional
        Facilities (Doc.
        3206-5). (Doc. 3464)
        at § 3.1.3. Stayed
        pursuant to opinion
        and order on motion
        to stay. (Doc. 3526)
        at 75-76.

III.E   SUICIDE PREVENTION
  1     ADOC must conduct      Stayed as to RHU
        inspections of all     cells only;
        suicide watch, SU,     otherwise, on a
        and RHU cells to       quarterly basis
        verify that they
        meet the conditions
        set forth Lindsay M.
        Hayes’s Checklist
        for the

                                   16
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 17 of 19



        “Suicide-Resistant”
        Design of
        Correctional
        Facilities (Doc.
        3206-5). (Doc. 3464)
        at § 2.1.7.2. Stayed
        as to RHU cells
        pursuant to opinion
        and order on motion
        to stay. (Doc. 3526)
        at 75-76.


III.F   HIGHER LEVELS OF CARE
  1     In collaboration      On hold pending EMT’s
        with the EMT, ADOC    evaluation.
        must reassess, on an
        annual basis, (1)
        the number of
        inmates on its
        mental-health
        caseload and (2)
        whether the current
        estimate of the
        percentage of the
        mental-health
        caseload requiring
        inpatient treatment
        is accurate. (Doc.
        3464) at § 11.2.2.
        The parties
        submitted joint
        reports on how to
        proceed on this
        issue on January 27,
        2023 (Doc. 3905) and
        February 9, 2023
        (Doc. 3918). At the
        triannual status
        conference on July
        14, 2023, the
        parties agreed that
        the court should
        wait to see if the
        EMT’s performance
        measures touch on
        this issue. The
        parties are to file
        a joint status
        report as to the
        EMT’s progress as to

                                   17
  Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 18 of 19



       assessing the
       mental-health
       caseload and whether
       the EMT’s
       performance measures
       touch on this issue.


                          IV. MISCELLANEOUS
IV.A   STATUS CONFERENCES
  1    Triannual status      7/12/2024 at 9:00
       conference, with the a.m.
       parties to submit
       reports 10 business
       days before the
       status conference
       (Doc. 3467 and Doc.
       3480).
  2    Triannual status      11/22/2024 at 9:00
       conference, with the a.m.
       parties to submit
       reports 10 business
       days before the
       status conference
       (Doc. 3467 and Doc.
       3480).
  3    Triannual status      2/7/2025 at 9:00 a.m.
       conference, with the
       parties to submit
       reports 10 business
       days before the
       status conference
       (Doc. 3467 and Doc.
       3480).

IV.B   STANDING ORDERS FOR HEARINGS AND STATUS CONFERENCES
  1    All hearings and
       evidentiary hearings
       shall be in
       accordance with the
       order entered on
       1/15/2020 (Doc.
       2727), unless
       otherwise specified.
  2    All hearings,
       evidentiary
       hearings, and status
       conferences are to
       be by
       videoconferencing


                                   18
Case 2:14-cv-00601-MHT-JTA Document 4176 Filed 05/08/24 Page 19 of 19



      unless otherwise
      specified.
3     Any hearing on
      objections to the
      performance measures
      and audit tools will
      be held virtually
      and made available
      to the public as
      outlined in Doc.
      4104.
    DONE, this the 8th day of May, 2024.

                                  /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE




                                 19
